 Fill in this information to identify the case:
 Debtor name Eden Home, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Studiosix5                                                      Trade debt                                                                                             $182,119.44
 811 Barton Springs
 Rd., #800
 Austin, TX 78704
 Rehabcare, Inc.                                                 Medical Services                                                                                       $164,068.10
 680 S. Fourth St.
 Louisville, KY 40202
 Morrison                                                        Trade debt                                                                                             $139,585.31
 Management
 Specialists
 5801 Peachtree
 Dunwoody Rd.
 Atlanta, GA 30342
 McKession                                                       Trade debt                                                                                               $17,171.26
 Medical-Surgical
 P.O. Box 630693
 Cincinnati, OH
 45263-0693
 Invictus HealthCare                                             Trade debt                                                                                               $15,666.00
 Solutions
 P.O. Box 312491
 New Braunfels, TX
 78131
 Hilltop Pharmacy                                                Trade debt                                                                                               $11,765.81
 631 Lakeview Blvd.
 New Braunfels, TX
 78130
 Council for Health &                                                                                                                                                       $9,864.00
 Human Services
 700 Prospect Ave.
 Cleveland, OH 44115
 Digital Media, LLC                                              Trade debt                                                                                                 $8,882.03
 782 Clinton Ave.
 Bridgeport, CT
 06604




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Eden Home, Inc.                                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 DME Synergistic                                                 Trade debt                                                                                                 $8,298.75
 Systems
 16302 Pleasantville
 Rd., #209
 San Antonio, TX
 78233
 Leading Age of                                                  Trade debt                                                                                                 $7,562.98
 Texas
 2205 Hancock Dr.
 Austin, TX 78756
 NeighborCare                                                    Trade debt                                                                                                 $7,147.86
 Pharmacy Services,
 Inc.
 d/b/a Omnicare San
 Antonio
 12460 Network, #101
 San Antonio, TX
 78249
 Bestcare Laboratory                                             Trade debt                                                                                                 $6,203.03
 Service, Inc.
 202 North Texas
 Ave., #100
 Webster, TX 77598
 International Bronze                                            Trade debt                                                                                                 $6,054.50
 Plaque Co.
 17031 Alico
 Commerce Ct., #3
 Fort Myers, FL
 33967
 GK Dental, PA                                                   Trade debt                                                                                                 $3,833.06
 7612 W. Highway 71,
 Suite B
 Austin, TX 78735
 Cure Healthcare                                                 Trade debt                                                                                                 $3,661.16
 Staffing
 7000 North Mopac,
 #2101
 San Antonio, TX
 78231
 Lowe's Business                                                 Trade debt                                                                                                 $3,469.37
 Account
 P.O. Box 530970
 Atlanta, GA
 30353-0970
 American Express                                                Credit card                                                                                                $3,308.76
 P.O. Box 650448                                                 purchases
 Dallas, TX 75265
 Matera Paper Co.,                                               Trade debt                                                                                                 $3,239.15
 Inc.
 835 North W.W.
 White Rd.
 San Antonio, TX
 78219

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 Debtor    Eden Home, Inc.                                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Texas Chiller                                                   Trade debt                                                                                                 $3,085.00
 Systems
 9807 McCullough
 Ave.
 San Antonio, TX
 78216
 Mark A. Burns, M.D.                                             Medical Services                                                                                           $3,000.00
 189 E. Austin, #105
 New Braunfels, TX
 78130




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